51 F.3d 266
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Reginald Thomas HENDERSON, Petitioner-Appellant,v.Edward MURRAY, Director, Virginia Department of Corrections,Respondent-Appellee.
    No. 95-6053.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 15, 1995.Decided:  April 11, 1995.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-93-629-R)
      Reginald Thomas Henderson, Appellant Pro Se.  Susan Campbell Alexander, Assistant Attorney General, Richmond, VA, for Appellee.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's orders denying relief on his 28 U.S.C. Sec. 2254 (1988) petition and denying his Fed.R.Civ.P.59 motion.  Our review of the record and the district court's opinions discloses that this appeal is without merit.  Accordingly, we deny leave to proceed in forma pauperis, deny a certificate of probable cause to appeal, and dismiss the appeal on the reasoning of the district court.  Henderson v. Murray, No. CA93-629-R (W.D.Va. Aug. 11 &amp; Sept. 8, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    